                                                                               Case 3:17-cv-00939-WHA Document 2249 Filed 11/21/17 Page 1 of 1



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                                                                          5                               IN THE UNITED STATES DISTRICT COURT
                                                                          6
                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
                                                                          8
                                                                          9   WAYMO LLC,                                                      No. C 17-00939 WHA
                                                                         10                  Plaintiff,
                                                                         11
United States District Court




                                                                                v.
                                                                                                                                              ORDER RE FINAL PRETRIAL
                               For the Northern District of California




                                                                         12   UBER TECHNOLOGIES, INC.;                                        CONFERENCE AND NOTICE
                                                                         13   OTTOMOTTO LLC; and OTTO                                         RE ANY SETTLEMENT
                                                                              TRUCKING LLC,
                                                                         14                  Defendants.
                                                                         15                                                /

                                                                         16          At the final pretrial conference, be prepared to advise the Court regarding the extent to
                                                                         17   which the Court can and should order the jury to maintain the confidence of the substance of the
                                                                         18   alleged trade secrets, even after verdict and even as to alleged trade secrets found
                                                                         19   unenforceable. Cite to caselaw on point.
                                                                         20          Additionally, if the parties settle this case too late to call off the venire, then the parties
                                                                         21   that requested a jury trial will be responsible for paying the full day of jury expenses for all
                                                                         22   members of the venire. Aside from the financial costs involved, please keep in mind the burden
                                                                         23   on prospective jurors of disrupting their lives to travel to and from the courthouse.
                                                                         24
                                                                         25          IT IS SO ORDERED.
                                                                         26
                                                                         27   Dated: November 21, 2017.
                                                                         28                                                               WILLIAM ALSUP
                                                                                                                                          UNITED STATES DISTRICT JUDGE
